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  EXHIBIT 1
                 Case 6:22-cv-01460-AN              Document 115-1          Filed 10/01/24        Page 2 of 4




From:                                Jon W. Monson <jmonson@cablehuston.com>
Sent:                                Monday, September 30, 2024 7:50 PM
To:                                  Johnson, Tom R.; Eric J. Neiman; Nikki Swift
Cc:                                  Emma Pelkey; Van Rysselberghe, Alex T.
Subject:                             Re: Legacy v. OHA
Attachments:                         image001.jpg



                                                  *** EXTERNAL EMAIL ***



Tom, confirming our position has not changed and we will not object to the filing of the amended complaint.

Jon W. Monson
Sent from Outlook
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From: Jon W. Monson <jmonson@cablehuston.com>
Sent: Thursday, September 19, 2024 11:59 AM
To: Eric J. Neiman <ENeiman@ebglaw.com>; Nikki Swift <nswift@cablehuston.com>
Cc: tom.johnson@stoel.com
Subject: RE: Legacy v. OHA

                                                                 *** EXTERNAL EMAIL ***



Thank you, Eric. We consent to the filing of the second amended complaint but reserve all defenses
thereto. As discussed, the State plans to file a motion to dismiss the SAC after it is filed, and we will propose a
briefing schedule on that motion by next Tuesday.

Best,

Jon W. Monson
Partner │ Cable Huston LLP
1455 SW Broadway, Suite 1500 Portland, OR 97201-3412
Phone 503-224-3092
Fax 503-224-3176
Web www.cablehuston.com
Email jmonson@cablehuston.com

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permanently delete the original and any copy of any e-mail and any printout thereof.

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From: Eric J. Neiman <ENeiman@ebglaw.com>
Sent: Thursday, September 19, 2024 11:09 AM
To: Jon W. Monson <jmonson@cablehuston.com>; Nikki Swift <nswift@cablehuston.com>
Cc: tom.johnson@stoel.com
Subject: Legacy v. OHA

Nikki and Jon, thank you for talking with us this morning. Attached are the redline and clean versions of the
proposed second amended complaint. We are still fine tuning and there may be a few more changes before we
file, but they will not involve additional claims to those in this version.

Please respond to confirm your consent to the second amended complaint being filed.




Eric J. Neiman | Bio
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